       Case 2:14-cr-00200-RAJ       Document 216      Filed 06/26/15      Page 1 of 1




 1                                            THE HONORABLE RICHARD A. JONES
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 5                      UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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     UNITED STATES OF AMERICA,                     No. CR14-200 RAJ

 9                Plaintiff,                       ORDER GRANTING
           vs.                                     DEFENDANT’S MOTION
10                                                 TO SEAL
     RICARDO VALDIVIA,
11

12                Defendant.

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14         This matter having come before the undersigned on the motion of the
15   defendant, Ricardo Valdivia, and the Court finding that Exhibit F of defendant’s
16   sentencing memorandum contains protected, personal information, the disclosure
17   of which would harm defendant’s rights to privacy, it is hereby
18         ORDERED that Defendant’s Motion to Seal Exhibit F of Defendant’s
19   Sentencing Memorandum is GRANTED. The document filed under Dkt. #209
20   shall remain sealed.
21         DATED this 26th day of June, 2015.
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23                                                   A
24                                                   The Honorable Richard A. Jones
                                                     United States District Judge
25


      ORDER - 1                                                        LAW OFFICE OF
                                                                 CATHY GORMLEY, PLLC
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                                                                Seattle, Washington 98104
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